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                                                                           United States District Court
                                                                             Southern District of Texas
                          UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS                       ENTERED
                                HOUSTON DIVISION                              October 16, 2020
                                                                             David J. Bradley, Clerk

G&G Closed Circuit Events, LLC           §
  Plaintiff,                             §
                                         §
V.                                       §      Civil Action 4:20−cv−01536
                                         §
El Impresario, Inc., et al.              §
   Defendant.                            §


                               SCHEDULING ORDER


1.   November 10, 2020            AMENDMENTS TO PLEADINGS AND
                                  ADDITION OF NEW PARTIES
                                  Party requesting joinder will furnish a copy of this
                                  scheduling order to new parties.

                                  EXPERTS
2a. January 15, 2021              Plaintiff, or party with the burden of proof, will
                                  designate expert witnesses in writing, listing the
                                  qualifications of each expert, the opinions the expert
                                  will present, and the bases for the opinions as required
                                  under Federal Rule of Civil Procedure 26(A)(2).

2b. February 15, 2021             Defendant, or party with the burden of proof, will
                                  designate expert witnesses in writing, listing the
                                  qualifications of each expert, the opinions the expert
                                  will present, and the bases for the opinions as required
                                  under Federal Rule of Civil Procedure 26(A)(2).

3.   May 1, 2021                  DISCOVERY
                                  Counsel may, by agreement continue discovery beyond
                                  the deadline. No continuance will be granted because
                                  of information acquired in post−deadline discovery.

4.   June 1, 2021                 MOTIONS DEADLINE
                                  Including any motion challenging an expert witness
                                  (only motions in limine on issues other than experts
                                  may be filed after this date). The motion deadline may
                                  not be changed by agreement.
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                                       JOINT PRETRIAL ORDER
5a. September 17, 2021                 THE DEFENDANT shall supply the Plaintiff with a
                                       final version of its pretrial order by this date. (Where
                                       available, Defendant should supply Plaintiff with a
                                       computer disc).

5b. September 20, 2021                 THE PLAINTIFF is responsible for filing the pretrial
                                       order on this date. All Motions in Limine must also be
                                       filed by this date.

6.   September 24, 2021                DOCKET CALL is set at 01:30 PM in Courtroom 9A.

7.   October 2021                      TRIAL
                                       Case is subject to being called to trial on short notice
                                       during this month.

7a. 1 day                              Estimated days to try

7b. Jury Trial                         Trial to be jury or non−jury.


     The Clerk shall enter this Order and provide a copy to all parties.

     SIGNED on October 16, 2020 at Houston, Texas.
